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               UNITED STATES DISTRICT COURT
                                         for the
                               Eastern District of Louisiana


                                            )
HIRAN RODRIGUEZ
_____________________________________ )
                Plaintiff(s)
                                                  CIVIL ACTION NO. 25-197
                                                  SECTION: “A” (2)

                   v.                             JUDGE JAY C. ZAINEY

                                            )     MAG. JUDGE DONNA PHILLIPS CURRAULT

                                            )

META PLATFORMS, INC., ET AL,
_________________________________________ )

              Defendant(s)

                                            )



REQUEST FOR ENTRY OF DEFAULT AGAINST DEFENDANT MARK ELLIOT

ZUCKERBERG
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(Pursuant to Fed. R. Civ. P. 55(a))




I, HIRAN RODRIGUEZ, declare under penalty of perjury under 28 U.S.C. § 1746 that the

following is true and correct:


1. I am the Plaintiff in this matter and respectfully request entry of default against Defendant

Mark Elliot Zuckerberg pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.


2. Defendant was personally served by the U.S. Marshals Service on March 6, 2025, with a

copy of the Summons and Complaint, as recorded in the docket.


3. Pursuant to Rule 12(a)(1)(A)(i), Defendant’s response was due by March 27, 2025.


4. As of today, March 28, 2025, no answer, motion, or responsive pleading has been filed by

Defendant Zuckerberg.


5. While counsel for Meta Platforms, Inc. entered an appearance on Zuckerberg’s behalf, no

formal motion to extend the March 27 deadline was filed before it expired, nor was any order

issued by the Court altering his deadline.


6. I respectfully request that the Clerk enter default against Mark Elliot Zuckerberg in

accordance with Rule 55(a), preserving all further rights to move for default judgment.




Respectfully submitted,




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/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave


Metairie, LA 70003


(504) 203-8459


hiranrodriguez@outlook.com


Dated: March 28, 2025




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                                CERTIFICATE OF SERVICE




I, Hiran Rodriguez, Plaintiff pro se, hereby certify that on March 28, 2025, I electronically

submitted the following documents through the Electronic Document Submission System

(EDSS) of the United States District Court for the Eastern District of Louisiana:


• Request for Entry of Default Against Defendant Mark Elliot Zuckerberg


• Memorandum in Support of Entry of Default


• Proposed Order for Entry of Default


• This Certificate of Service




Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure, notice of this filing will

be electronically served via CM/ECF to all counsel of record who have made an appearance in

this case.




For any defendants who have not yet entered an appearance, I further certify that they are in the

process of being served by the United States Marshal Service in accordance with Federal Rule

of Civil Procedure 4(c)(3).




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Respectfully submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave


Metairie, LA 70003


(504) 203-8459


hiranrodriguez@outlook.com


Dated: March 28, 2025




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eFile-PrpSe

From:                           Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                           Friday, March 28, 2025 12:21 AM
T6:" ■■                         eFile-ProSe

Subject:                        New EDSS Filing Submitted
Attachments:                    Request for Entry of Default Against Defendant Mark Elliot Zuckerberg.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Friday, March 28, 2025   -




00:2t. ^

The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-CV-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Request for Entry of Default Against Defendant Mark Elliot
Zuckerberg.pdf




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